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                               Eric Belfi

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                                JAMS

  Reference No. 1345000011/C.A. No. 11-10230-MLW



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  In Re:    STATE STREET ATTORNEYS FEES

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  BEFORE: Special Master Honorable Gerald Rosen,

            United States District Court, Retired




                    DEPOSITION of ERIC BELFI

          September 5, 2017, 11:54 a.m.-3:15 p.m.

                                JAMS
                        One Beacon Street

                      Boston, Massachusetts




          Court Reporter:      Paulette Cook, RPR/RMR

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                                                                                       .
                                                     5      We developed a relationship. He had a
                                                     6   firm and still has a firm that does a lot of
                                                     7   referring of clients. They do some litigation, but
                                                     8   mostly what they do is they find clients, and they
                                                     9   refer it to other law firms such as ourselves.
                                                    10      So he approached me and said he had some
                                                    11   opportunities to introduce us to pension plans in
                                                    12   the Texas, Arkansas, Oklahoma region because him and
                                                    13   his partner had contacts down there.




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                                                              1   what they knew or didn't know.
                                                              2      THE SPECIAL MASTER: And that's a fair
                                                              3   answer. Let's not speculate about what was in their
                                                              4   mind.
                                                              5      THE WITNESS: Yeah.
 6   Q. Notwithstanding the statement that in                 6      THE SPECIAL MASTER: Was it disclosed to
 7   October 2008 ARTRS with full knowledge that Labaton      7   them -- anyone at Arkansas -- that Chargois and
                                                              8   Herron or the Chargois & Herron firm were going to
 9    as one of its monitoring counsel, would you agree       9   receive a fee for every case in which Arkansas was
10    with me that neither Mr. Doane, nor others at          10   either lead plaintiff or co-lead plaintiff that
11    Arkansas Teacher Retirement System, was aware of the   11   Labaton served as co-counsel -- lead counsel or
12    referral agreement between Chargois & Herron and       12   co-load counsel?
13    Labaton?                                               13      Was that disclosed to them by, as far as
14   A. They understood that we were working                 14   you know, anyone at Labaton?
15    together on this.                                      15      THE WITNESS: As far as I know, what was
16   Q. All right.                                           16   disclosed is that we were working together but not
17   A. That it was a joint presentation and that            17   that specific verbiage.
18    both firms would be representing them in these         18      But we do put in our retainer agreements
19    cases.                                                 19   that there may be referral fees which is included in
20   Q. All right. And let me take you beyond that           20   the State Street one and is included in other ones
21    particular proposal --                                 21   that we've done with Arkansas.
22       THE SPECIAL MASTER: Let me -- more                  22      THE SPECIAL MASTER: What is your
23    specifically, was Arkansas -- anyone at Arkansas,      23   understanding of what a referral fee is?
24    Mr. Doane at the time, Miss Clark, anyone or           24      THE WITNESS: A referral fee is when you

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 1    subsequently George Hopkins -- made aware of what's     1   have another lawyer or law firm that helps establish
 2    referred to as a referral fee of 20 percent on all      2   a relationship with a client, and essentially they
 3    cases in which Arkansas serves as lead plaintiff or     3   refer the client to you basically as an introduction
 4    co-lead plaintiff and Labaton is lead or co-lead        4   to the client. And that can have many different
 5    counsel?                                                5   manifestations as it goes forward how the
 6       THE WITNESS: As to the 20 percent? I                 6   relationship proceeds.
 7    don't believe they were ever notified about the 20      7      I think the big distinction between the
 8    percent, but they certainly understood that there       8   normal kind of common parlance of what a referring
 9    was a relationship and that there would be some         9   attorney is for most plaintiffs' litigation is they
10    obligation to pay fees to that firm.                   10   refer them for one case. Maybe it's a personal
11       THE SPECIAL MASTER: On every case?                  11   injury case, and they refer them once. It's not
12    Even if Chargois was not involved specifically as a    12   like the injury keeps occurring.
13    referring attorney and even if Chargois did no work    13      Whereas, this is a different type of
14    on the case? Were they aware of that?                  14   scenario because the possibility exists, which
15       THE WITNESS: I don't know what was in               15   occurred -- we didn't know it was going to occur --
16    their mind as far as -- I knew what we had presented   16   but that Arkansas could end up being in multiple
17    to them; that this was a joint application; that we    17   cases.
18    would be working together on this. They came to us     18      So when you establish the relationship,
19    and said, look, we can only have one firm on, and      19   the referral, you know, goes along with the fact
20    they said we'll put your firm on because you're        20   that they established a relationship and that's how
21    going to be doing the actual monitoring, but you       21   we got into the introduction.
22    guys can work with them and be part of the team.
23       As far as, you know, everything else you
24    asked, I don't know what was in their mind as far as

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                                                              1    number was because as a fiduciary for the class he
                                                              2    was only concerned about, you know, how much were
                                                              3    the aggregate attorneys getting and not what is the
                                                              4    class getting -- I mean not what is -- what his
                                                              5    individual attorney's getting.
                                                              6   Q. So is it your testimony that you discussed
                                                              7    with George Hopkins the referral fee being paid to
                                                              8    Chargois and Herron?
                                                              9   A. No, it is not my testimony.
                                                             10   Q. Did you have any conversation with George
                                                             11    that talked about any referring party in that case?
                                                             12   A. We just discussed about how cases would get
                                                             13    divided up and how fees would be split in
                                                             14    situations, but it wasn't specific to any particular
                                                             15    case; it was more kind of general how the industry
                                                             16    worked.
                                                             17   Q. So the answer is, no, you did not discuss a
                                                             18    referral -- referring attorney in that particular
                                                             19    case?
                                                             20   A. That is correct.




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 5   Q. Is there a specific person that you can
 6    point to that was told that Chargois and Herron
 7    and/or their firm would be receiving referral fees
 8    for every case that Labaton worked on?
 9   A. There's no document that shows that.
10   Q. Can you point to any conversation with
11    anyone at Arkansas Teachers Retirement System that
12    you or Chris Keller or Damon Chargois or Tim Herron
13    had where this arrangement was discussed?
14   A. At this point I can't recall that, um, you
15    know, going back that many years. I cannot recall a
16    specific conversation.
17      I can recall a conversation that I had
18   with George Hopkins after the Colonial case in which
19   we talked about, you know, how fees worked, and he
20    basically said that, you know, he only wanted to       20       THE SPECIAL MASTER: Let me just --
21   deal with our firm and wasn't concerned about how we    21    before I forget.
22    would cut fees up if we're working with other firms    22       We've seen in a number of e-mails
23    and how that worked out.                               23    Mr. Chargois referred to as local counsel or "the
24      He only wanted to know what the absolute             24    local."

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 1      He wasn't local counsel in any of these              1   wants to deal directly with you.
 2   cases other than maybe the BP case --                   2      And so he was very clear that we were to
 3      THE WITNESS: Well, there's --                        3   just deal directly with him. And I got the sense
 4      THE SPECIAL MASTER: -- in the legal                  4   showing up with local counsel would not be the best
 5   sense of being local counsel.                           5   way to proceed with George going forward. And so we
 6      THE WITNESS: There's two ways that                   6   made a decision at that point not to bring the local
 7   local counsel is defined in our industry.               7   counsel into the meetings.
 8      One is you're local to the jurisdiction              8      THE SPECIAL MASTER: So, again, my
 9   of where the case is being brought. So if we filed      9   question is in what sense was he local counsel?
10   a case in the Eastern District of Michigan, we would   10      If he was not working on a case, if he
11   retain a local counsel there.                          11   was not appearing in the case, he was not appearing
12      We also work with --                                12   on the docket, in what sense was he local counsel?
13      THE SPECIAL MASTER: And in that                     13      THE WITNESS: He helped us initiate the
14   instance local counsel would file an appearance?       14   relationship. He was part of the joint presentation
15      THE WITNESS: That is correct. We also               15   that we got picked.
16   work with local firms in the local jurisdiction of     16      And the question that you're asking,
17   where some of the clients are, and they assist us in   17   which I can't answer, is how long does that last.
18   the relationship with the client.                      18      THE SPECIAL MASTER: Well, that's a
19      They may assist in document review.                 19   different question.
20   They may assist in -- in preparation for a             20      I guess my question precedent to that --
21   deposition. There's even some states, such as          21   preceding to that is in what sense is that local
22   Pennsylvania, that actually have a requirement that    22   counsel? As a judge understands it.
23   you have local counsel.                                23      THE WITNESS: Well, it's very different
                                                            24   terminology than what you would understand as local

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 1   counsel would have to appear in court on the docket.
 2   The local -- under the local rules, right?
 3       THE WITNESS: I -- we have not actually
 4   represented Pennsylvania. So I don't know. But
 5   that would be my presumption.
 6       THE SPECIAL MASTER: I guess my question
 7   is in what sense was Damon Chargois local counsel in
 8   any case in which they did no work and did not
 9   appear on the docket and did not make an appearance
10   in the case?
11       THE WITNESS: When we started the
12   relationship with Damon and Tim to work with
13   Arkansas, our belief -- my belief was that they were
14   going to be partners, and they would help with the
15   client.
16       As it turned out, very quickly after we
17   established the relationship jointly with ATRS, Paul
18   Doane left and was replaced by George Hopkins. When
19   George Hopkins came in, a couple of months after he
20   started, myself and my partner, Larry Sucharow, went
21   down to Little Rock, and we met with George, and we
22   learned very quickly -- as you probably have found
23   spending time with him -- that he's very direct. He
24   doesn't want any third parties involved. And he

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                                                    15       So how did Chargois and Herron obtain
                                                    16    Arkansas Teachers as a client for Labaton?
                                                    17   A. I don't think they necessarily obtained them
                                                    18    as a client. They helped us get an introduction so
                                                    19    we could do a presentation to the client.
                                                    20       And then once we did the presentation,
                                                    21    we were kind of put on their radar. So at some
                                                    22    point later when they did the RFQ, they sent an RFQ
                                                    23    to us for us to respond to.
                                                    24       THE SPECIAL MASTER: Did Chargois

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 1    participate substantively in that presentation?
 2       THE WITNESS: The presentation that we
 3    did to the client was in New York because Mr. Doane
 4   had a conference in New York, and Damon arranged for
 5    him to come to our office, but Damon I do not
 6    believe participated in it. It was in New York.
 7       BY MR. SINNOTT:
 8   Q. And how was he able to get that introduction
 9    for you with Mr. Doane?
10   A. His partner, Tim Herron, was from Arkansas.
11    Little Rock is a pretty small community, and he just
12    knew people down there that were able to get us an
13    introduction to the executive director.
14       And I also believe that Tim actually was
15    next-door neighbors with Mr. Doane.
16   Q. Okay.
17   A. That's Tim Herron.
18   Q. Tim Herron?
19   A. Yes.
20   Q. And were any elected officials brought into
21    the picture for purposes of assisting with this
22    introduction?
23   A. Yes. When we went down there -- and it's
24    pretty common that we are given opportunities to

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 1    speak with people from the legislature, attorney's
 2    general's office or even sometimes the governor's
 3    office, about the service that we want to provide
 4    because, as you probably know -- and I know the
 5   judge knows -- that we have tremendous problems with
 6    our pension plans around this country.
 7       So when you have a law firm coming in
 8    and saying we are trying to get money back for the
 9    pension plan, this certainly piques their interest
10    because they see it as an opportunity to try to
11    recoup funds to bring back to the pension plan. So
12    it's very common for us to speak to elected
13    officials on this issue because it is such an
14    important issue.




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                                                    18      THE SPECIAL MASTER: Does Labaton have
                                                    19   any other ongoing relationship agreements such as
                                                    20   the one with Chargois in which an attorney has an
                                                    21   interest going out years in every single case that
                                                    22   Chargois or any -- I'm sorry -- in any case in which
                                                    23   that lawyer originally helped facilitate the
                                                    24   relationship?

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                                                     1      THE WITNESS: Yes.
                                                     2      THE SPECIAL MASTER: It does?
                                                     3      THE WITNESS: Yes.
                                                     4      THE SPECIAL MASTER: Is it the same kind
                                                     5   of an agreement that it has with Mr. Chargois in
                                                     6   this case in which they get a fee for every single
                                                     7   case?
                                                     8      THE WITNESS: Yes.
                                                     9      THE SPECIAL MASTER: How many such
                                                    10   relationships would that be?
                                                    11      THE WITNESS: Over ten.
                                                    12      THE SPECIAL MASTER: Over ten?
                                                    13      And in those relationships is the
                                                    14   forwarding attorney -- we've heard a number of
                                                    15   different names. Do they do any work on these
                                                    16   cases, actual substantive work on the case?
                                                    17      THE WITNESS: Yes.
                                                    18      THE SPECIAL MASTER: They actually work
                                                    19   on the cases?
                                                    20      THE WITNESS: Varying degrees, yes.
                                                    21      THE SPECIAL MASTER: Varying degrees.
                                                    22   So let me rephrase the question.
                                                    23      Does Labaton have any agreements with
                                                    24   firms similar to the agreement with the Chargois

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 1   firm in which the facilitating attorney or              1   actual relationship with the client where they may
 2   forwarding attorney does no work substantively on       2   be were -- they were retained to do other work, and
 3   the case and yet gets a fee?                            3   they gave us an introduction.
 4      MS. LUKEY: Your Honor, I think it might              4      So this was -- you know, it would be all
 5   be helpful to you if you asked him what the             5   different degrees. So it kind of runs the gamut.
 6   agreement was supposed to be with Chargois about --     6      THE SPECIAL MASTER: Is it fair to say
 7      THE SPECIAL MASTER: Well, he can                     7   that the way that this relationship with
 8   incorporate that in his answer.                         8   Mr. Chargois has turned out in which he gets an
 9      MS. LUKEY: -- doing work.                            9   ongoing fee, irrespective as to whether he has
10      THE WITNESS: Could you repeat the                   10   continued a relationship with a client or has done
11   question?                                              11   any work on any case but yet gets a fee, is the only
12      THE SPECIAL MASTER: I'll try.                       12   one in which Labaton has of that nature?
13      Does Labaton have any other agreements,             13      THE WITNESS: Yes.
14   relationships with forwarding attorneys -- that was    14      THE SPECIAL MASTER: Now Miss Lukey
15   Mr. Sucharow's phrase --                               15   wanted to give you an opportunity to I think expand
16      THE WITNESS: Yes.                                   16   upon how the relationship with Mr. Chargois
17      THE SPECIAL MASTER: -- in which those               17   developed.
18   attorneys perform no work on a case and simply         18      MS. LUKEY: To what you expected and how
19   facilitated the agreement with the client at some      19   it developed.
20   point in the past but now have an ongoing interest     20      THE SPECIAL MASTER: As to what you
21   in Labaton's fee?                                      21   expected.
22      THE WITNESS: No.                                    22      THE WITNESS: Well, I think it's
23      THE SPECIAL MASTER: Now --                          23   important to understand that when we first started
24      THE WITNESS: They all have varying                  24   this relationship we had Paul Doane in there. And,

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 1   degrees of how much they do, but the intent with the    1   you know, as it turned out, Paul Doane ends up
 2   agreement with Damon was that he would be active.       2   leaving, and George Hopkins comes in. And, you
 3      We never had the vision that it would                3   know, obviously, two totally different
 4   turn out the way it did turn out in that they don't     4   personalities.
 5   do anything in these cases, and it's just a straight    5      And so myself, I just had a gut reaction
 6   contractual obligation that we have.                    6   that I needed to deal directly with George, and I
 7      Any of the referring or forwarding                   7   didn't want to bring Damon and Tim into the meeting.
 8   attorneys that we work with have some involvement in    8   So that's when Larry and I went down there, and from
 9   the cases. There are some that are very active in       9   that point forward George just started dealing with
10   the case, and there are some that are less active,     10   me very directly.
11   but all of them have some sort of activity in these    11      He'd call me on my cell phone at 10
12   cases.                                                 12   o'clock at night, and we developed a relationship.
13      THE SPECIAL MASTER: Is it fair to say               13   I just saw that it was not worth trying to intermix
14   that in those other cases those attorneys have a       14   them into what we were doing because we developed
15   relationship with the client?                          15   this kind of very close relationship, and there was
16      THE WITNESS: Yes.                                   16   nobody needed in order for me to communicate to him
17      THE SPECIAL MASTER: A relationship that             17   or for him to communicate to me.
18   is more than just simply a door-opening                18      He's a very direct guy, and he would
19   relationship?                                          19   never want someone in between us.
20      THE WITNESS: There's varying degrees of             20      THE SPECIAL MASTER: So is it fair to
21   the importance of the local attorney in these          21   say the relationship changed, the nature of the
22   relationships. There are some that, you know,          22   relationship with Mr. Chargois and the Arkansas
23   merely were door opening, but they've continued to     23   client? Is that fair to say?
24   stay involved. There are some that they had a          24      THE WITNESS: Yes.

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                                                      1   question. In this case and, apparently, the other
                                                      2   cases, the relationship with Mr. Chargois was not
                                                      3   disclosed to the Court as part of the settlement and
                                                      4   fee application.
                                                      5      In view of all of this and from your
                                                      6   firm's perspective, would it not be -- would it not
                                                      7   have been just good business practice to put this in
                                                      8   front of the Court and have the Court weigh in?
                                                      9      THE WITNESS: We felt as though we had a
                                                     10   contractual obligation, and I don't know if the
                                                     11   Court would have done anything different with that.
                                                     12      And if we did not meet the contractual
                                                     13   obligation, I think we would have ended up with a
                                                     14   lawsuit.
                                                     15      THE SPECIAL MASTER: I guess my question
                                                     16   is more strategic and tactical.
                                                     17      There were obviously problems in the
                                                     18   relationship in the amount that you were having to
                                                     19   pay to Mr. Chargois in each of these cases in which
                                                     20   your firm was having to make a more significant
                                                     21   investment because they were settling at a later
                                                     22   point in the case after more work by Labaton, right?
                                                     23      THE WITNESS: Correct.
                                                     24      THE SPECIAL MASTER: Tactically and

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                                                      1   strategically would it not have been a good idea to
                                                      2   bring it to the Court and maybe the Court would say,
                                                      3   hey, wait a minute, what's going on here?
                                                      4      THE WITNESS: The concern ultimately
                                                      5   that drove the decision-making process is our
                                                      6   concern with how Arkansas Teacher Retirement System
                                                      7   would deal with the fact that even if we brought it
                                                      8   in front of the district of Massachusetts in front
                                                      9   of Judge Wolf, that we may have ended up in state
                                                     10   court in for example Galveston, Texas with other
                                                     11   litigation.
                                                     12       And, you know, we would have had a
                                                     13   contract dispute that would have brought Arkansas
                                                     14   into that, and that was a real concern of ours about
                                                     15   what that would have looked like and how the client
                                                     16   would have felt about that. It was something I had
                                                     17   real concerns about.




24      THE SPECIAL MASTER: Let me ask a

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 7       THE SPECIAL MASTER: Was one of the
 8   concerns not just in this case but in other cases in
 9   disclosing this to a Court that it would invariably
10   draw the client into it and maybe even draw
11   litigation, as you said, from Mr. Chargois?
12       THE WITNESS: Yes.




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                                                              13   A. Obviously, once we got -- once the issue was
                                                              14   raised in December of 2016, I contacted Damon and --
                                                              15   and, you know, I reached out to get an undertaking
                                                              16    from him on the fee.




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                                                                                                .
                                                    14     THE SPECIAL MASTER: Okay. There was an
                                                    15   agreement at some point not to share the Chargois
                                                    16   agreement and the payment to Chargois with the ERISA
                                                    17   lawyers. Were you part of that?
                                                    18      THE WITNESS: No.
                                                    19      THE SPECIAL MASTER: Were you aware that
                                                    20   it was not going to be shared with the ERISA
                                                    21   lawyers?
                                                    22      THE WITNESS: I don't recall. It was
                                                    23   not something that was significant to me.
                                                    24      THE SPECIAL MASTER: Did they consult

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                                                     1   with you about it?
                                                     2     THE WITNESS: No.
                                                     3     THE SPECIAL MASTER: So you did not have
                                                     4   any role at all in agreeing not to disclose the
                                                     5   Chargois payments to the ERISA lawyers?
                                                     6     THE WITNESS: Correct.




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 1    first page, and you sent a response to George where     1    Chargois and Herron he may have raised issues?
 2    you said, "Dear George, I do not believe that I         2      THE WITNESS: I mean it's difficult to
 3    mentioned to you in our call that we need to file       3    go back into my mind back in 09. But to the best of
 4    the papers on Tuesday. So please have it signed."       4    my recollection, I would say that I would have been
 5       You blind copied Mr. Herron on that                  5    concerned I didn't know what his response would be,
 6    message, correct?                                       6    and he seemed to be willing to do the case.
 7   A. Yes.                                                  7      So I did not want to --
 8   Q. Why did you do that?                                  8      THE SPECIAL MASTER: -- rock the boat?
 9   A. I wanted to keep him updated on what was              9      THE WITNESS: That is correct.
10    going on in the case.                                  10      BY MR. SINNOTT:
11   Q. Why didn't you just include him as a CC?             11   Q. But in trying to avoid rocking the boat, you
12   A. As I testified earlier, George had just              12    were concealing this relationship from him, were you
13    started. I didn't know how to deal with him. It        13    not?
14    was a brand new person. I did not want to bring        14   A. I think concealing's a strong word. I mean
15    another person in that wasn't from our firm at this    15    they were on the papers that we had to ATRS. When
16    point.                                                 16    we originally were hired, this was a new executive
17       So I thought it was best to just keep               17    director. I didn't know how he was going to
18    him apprised but not put him on the correspondence.    18    operate.
19   Q. Well, were you trying to hide this referral          19        So I was kind of just waiting until we
20    relationship from him?                                 20    figured things out with him as far as how to address
21   A. No.                                                  21    it, but I -- I think concealing is a strong word
22       TELECON VOICE MESSAGE: The following                22    there.
23    participant has entered the conference: Sarko.         23        THE SPECIAL MASTER: The fact that he
24   Q. It seems like the easiest way to keep him            24    was a new executive director, wouldn't that have

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 1    informed -- to keep your referring attorney informed    1    counseled more transparency rather than less?
 2    without calling upon Mr. Hopkins to have to do          2       THE WITNESS: I was trying to deal with
 3    anything would be just to CC him on it or to inform     3    the personality of George, and I thought the best
 4    him that you're not -- you weren't looking for          4    way to deal with him initially was to keep it very
 5    action. But you chose to send a blind copy to -- to     5    simple.
 6    the referring firm.
 7       Could you tell me again why you did
 8    that?
 9   A. George was brand new. I -- you know, I
10   didn't know if Tim knew who George was or if George
11   knew who Tim was. I knew George was someone that
12    could be a little bit difficult to deal with.
13      I had heard stories of other firms that
14    had dealt with him, and there was one particular
15    incident that I know another one of my competitors
16    had an issue where he wouldn't sign a certification,
17    and I was really just trying to keep it very simple.
18       This was the first case that they
19    retained us. So I really just wanted to keep it
20    very uncomplicated because we wanted to get the
21    certification because we had to file this motion by
22    April 7th.
23       THE SPECIAL MASTER: Were you concerned
24    that if George had known about the relationship with


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17      THE SPECIAL MASTER: Was she ever told
18   in any case that Chargois and his firm were being
19   paid -- specifically told were being paid referral
20   fees?                                                  20   A. To the best of my recollection, I had a
21      THE WITNESS: Not that I'm aware of.                 21    followup call with Christa after I got this e-mail,
                                                            22   and we had a conversation concerning that, you know,
                                                            23   we would be working with Chargois & Herron, but we
                                                            24    would be the ones that would go on the contract.

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 1   Q. And did you tell her that Chargois & Herron
 2    would be a necessary and appropriate expense?        2  Q. George Hopkins has been the executive
 3   A. The issue at this point is this is like            3   director since December 29, 2008, and that's, you
 4    eight years ago, and I -- I can't spell out the      4   know, a little less than nine years ago.
 5    conversation. I just know I had a followup           5      You've never mentioned this relationship
 6    conversation with Christa concerning the fact that 6     to him, have you?
 7    they were going to be involved in the relationship. 7   A. Correct.
 8       As far as being able to decipher                  8  Q. Don't you think that would be something that
 9    anything else that happened in that conversation, I 9    would be prudent and expected for a law firm to do
10    couldn't tell you.                                  10   with a client?
                                                           11 A. He did not seem interested after the
                                                           12 Colonial conversation we had about how fees are
                                                           13 split up and how it's done to have any
                                                           14   conversations. He was only concerned about what the
                                                           15    total fee was going to be for the class.
16    those into different categories. Certainly with      16       He was not concerned with who we were
17    George Hopkins there was no communication to him     17    splitting fees with in each of these cases. It was
18    specifically that Chargois & Herron was going to     18    never something that -- it was not -- it was not
19    receive referral fees.                               19    something that he ever actually asked about, but,
                                                           20    more importantly, I think it was something that he
                                                           21    basically said he didn't want to deal with. He only
                                                           22    wanted to deal with what was the total fee.
                                                           23   Q. Once again, much like affiliation,
                                                           24    allocation is a very broad concept, correct?

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                                                            1   A. Yes.
                                                            2   Q. It encompasses much, much more than fee
                                                            3    splitting, correct?
                                                            4   A. I guess so.
                                                            5   Q. Well, it certainly encompasses more than fee
                                                            6    referrals, correct? Or referring attorneys?
                                                            7   A. Referring attorneys can have a fee
                                                            8    allocation.
                                                            9   Q. Right. But that's just one small piece,
                                                           10    correct?
                                                           11   A. I'm not sure what you're -- what you're
                                                           12    trying to get at with these questions.
                                                           13   Q. Well, what I'm getting at is that you seem
                                                           14    to interpret a statement by Mr. Hopkins that he
                                                           15    doesn't want to get into how fees are allocated to
                                                           16    be a license to have essentially a no-show referral
                                                           17    arrangement with Mr. Chargois.
                                                           18       And isn't that a reach?
                                                           19   A. We didn't view it as a no-show obligation.
                                                           20    We believed it to be a contract obligation that we
                                                           21   had, and we were concerned that we were going to get
                                                           22    sued if we did not pay them what they thought was
                                                           23    their entitlement.
                                                           24   Q. I'm not -- I'm not taking issue with the

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 1    decisions you made on that. I'm taking issue with
 2    the lack of transparency and the lack of informing
 3    of a client of this relationship.
 4       Did you make the decision, Eric, not to
 5    disclose this information to Mr. Hopkins, or did
 6    someone else at the firm?
 7   A. I don't think there was any intent not to
 8    disclose it. It's just something that didn't come
 9    up.
10   Q. For in excess of eleven years -- ten years?
11   A. I'd say about eight years but...
12   Q. Didn't they become a client in 2007?
13   A. No, they did not become a client until
14    October 2008.
15   Q. So I stand corrected. So for nine years it
16    hasn't come up?
17   A. No.
18   Q. All right.
19       MR. SINNOTT: Anything else, judge?
20       THE SPECIAL MASTER: Well, I do have a
21    couple of questions. I have to go, but there are
22    other things we want to ask, but let me ask this:
23    Were you involved at all in the decision not to
24    inform the Court of the Chargois relationship?

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 1       THE WITNESS: No.
 2       THE SPECIAL MASTER: Who would have made
 3    that decision?
 4       THE WITNESS: I believe it would have
 5    been dealt with by the settlement team.




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